              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                                1:17 cr 80


UNITED STATES OF AMERICA,                      )
                                               )
      v.                                       )                  ORDER
                                               )
PHILLIP SAMPSON ARMACHAIN, SR. ,               )
                                               )
                  Defendant.                   )
____________________________________           )


      Pending before the Court is Defendant’s Motion to Compel Discovery [# 28].

The Government has since provided Defendant with Discovery, and Defendant filed

a Notice of Withdrawal of Motion [# 45].           Therefore, the Court DENIES and

DISMISSES the motion [# 28].

                                       Signed: October 17, 2017




                                          1

   Case 1:17-cr-00080-MOC-WCM      Document 46           Filed 10/17/17   Page 1 of 1
